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 4
     Attorney for Defendant Jason Fong
 5

 6                            UNITED STATES DISTRICT COURT
 7                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,              )      Case No.: SACR 20-00146-DOC
                                            )
10               Plaintiff,                 )      OBJECTION TO GOVERNMENT’S
                                            )      UNDERSEAL FILING SUBMITTED
11         vs.                              )      ON FEBURARY 25, 2021 AND
                                            )      REQUEST TO STRIKE
12   JASON FONG,                            )
                                            )
13               Defendants.                )
                                            )
14                                          )
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16         Defendant Jason Fong, by and through his attorney of record Karren
17   Kenney, hereby objects to the Government’s underseal filing (Opposition)
18   pertaining to Mr. Fong’s bail review hearing set for February 26, 2021. The
19   underseal filing contains distorted information in an attempt to sabotage Mr.
20   Fong’s efforts to obtain bond. The factual information in the underseal filing
21
     lacks foundation, is unreliable and contains multiple levels of hearsay. In that
22
     regard, Mr. Fong therefore requests the underseal filing be stricken from the
23
     record. If the filing is allowed and then considered by the court during the
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     detention hearing, Mr. Fong’s due process rights will be violated if the defendant
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     is not provided the opportunity to cross examine the agent(s) who provided the



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 1   distorted facts that have been presented to the court. If the court allows the
 2   filing, the defense requests a hearing be set to question the involved law
 3   enforcement agents regarding the information presented.
 4
     DATED: February 25, 2021                    Respectfully submitted,
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 6
                                                 /s/_______________
 7                                               Karren Kenney
                                                 Attorney for Jason Fong
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